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                       EXHIBIT C
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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


ANDREW CORZO, SIA HENRY, ALEXANDER
LEO-GUERRA, MICHAEL MAERLENDER,
BRANDON PIYEVSKY, BENJAMIN SHUMATE,
BRITTANY TATIANA WEAVER, and CAMERON
WILLIAMS, individually and on behalf of all others
similarly situated,

                             Plaintiffs,             Case No.: 1:22-cv-00125

                        v.                           Hon. Matthew F. Kennelly

BROWN UNIVERSITY, CALIFORNIA
INSTITUTE OF TECHNOLOGY, UNIVERSITY
OF CHICAGO, THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW YORK,
CORNELL UNIVERSITY, TRUSTEES OF
DARTMOUTH COLLEGE, DUKE UNIVERSITY,
EMORY UNIVERSITY, GEORGETOWN
UNIVERSITY, THE JOHNS HOPKINS
UNIVERSITY, MASSACHUSETTS INSTITUTE
OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME
DU LAC, THE TRUSTEES OF THE
UNIVERSITY OF PENNSYLVANIA, WILLIAM
MARSH RICE UNIVERSITY, VANDERBILT
UNIVERSITY, and YALE UNIVERSITY,
                             Defendants.


  JOINT DECLARATION OF SETTLEMENT CLASS COUNSEL’S NOTICE OF
SUPPLEMENTAL AUTHORITY AND SUPPLEMENTAL MEMORANDUM OF LAW
SUPPORTING THEIR MOTION FOR SERVICE AWARDS, REIMBURSEMENT OF
  EXPENSES, AND ATTORNEYS’ FEES IN LIGHT OF RECENT AUTHORITY
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       In support of Plaintiffs’ Supplemental Memorandum of Law Supporting Their Motion for

Service Awards, Reimbursement of Expenses, and Attorneys’ Fees filed pursuant to the Court’s

Order dated February 28, 2024 (ECF No. 638), and under 28 U.S.C. § 1746, we declare:

       1.      We are partners or shareholders of the law firms Freedman Normand Friedland LLP

(“FNF”), Gilbert Litigators & Counselors, PC (“GLC”), and Berger Montague PC (“BMPC”). The

Court approved ourselves and our firms as Settlement Class Counsel, ECF No. 638 at 6 ¶ 6, for

the provisionally certified Class for purposes of the Settlements at issue. See id. at 5 ¶ 3 (defining

Settlement Class).

       2.      We have been involved in developing, prosecuting, overseeing, and resolving this

Action, are familiar with its proceedings, and have personal knowledge of the matters set forth

herein. If called upon and sworn as witnesses, each of us would be competent to testify thereto.

       3.      In other antitrust class actions, to the best of our knowledge over the last twenty

years (the period of time for which Mr. Cramer can reasonably determine what arrangements his

colleages have negotiated in such cases), Settlement Class Counsel have not entered into

alternative fee structures involving relatively lower pecentages of recovery as the settlement

amount increased; and have not made any bids for modified fee structures involving a lower

percentage of recovery than one-third of the recovery. In addition, Settlement Class Counsel have not

agreed with any Class Representative in this case to accept less than the one-third of the gross

settlement amount, plus interest, that Settlement Class Counsel seek here.

                                          CONCLUSION

       4.      Settlement Class Counsel respectfully submit, for the reasons set forth above, in

their accompanying supplemental memorandum of law, and in their previously submitted

memorandum of law, that the record and law amply support their attorneys’ fee application.
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       I certify under penalty of perjury that the foregoing is true and correct. Executed on July 9,

2024, in Middlesex, New York.

                                                      /s/ Edward Normand
                                                      Edward Normand
                                                      FREEDMAN NORMAND
                                                      FRIEDLAND LLP
                                                      155 E. 44th Street, Suite 905
                                                      New York, NY 10017
                                                      Tel: (646) 350-0527
                                                      tnormand@fnf.law


       I certify under penalty of perjury that the foregoing is true and correct. Executed on July 9,

2024, in Hermosa Beach, California.

                                                      /s/ Robert Gilbert
                                                      Robert Gilbert
                                                      GILBERT LITIGATORS
                                                      & COUNSELORS
                                                      11 Broadway, Suite 615
                                                      New York, NY 10004
                                                      Tel: (646) 448-5269
                                                      rgilbert@gilbertlitigators.com


       I certify under penalty of perjury that the foregoing is true and correct. Executed on July 9,

2024, in Philadelphia, Pennsylvania.


                                                      /s/ Eric L. Cramer
                                                      Eric L. Cramer
                                                      BERGER MONTAGUE PC
                                                      1818 Market Street, Suite 3600
                                                      Philadelphia, PA 19106
                                                      Tel: (215) 875-3000
                                                      ecramer@bm.net




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